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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   Case No.: 1:21-cr-00180-RJL-1



                  v.                        MOTION TO SUPPRESS
                                            STATEMENTS
ELIAS COSTIANES,

                       Defendant.



               COMES NOW, Elias Costianes, through counsel, pursuant to Rule
12(b)(3) of the Federal Rules of Criminal Procedure to respectfully request this
Honorable Court to prohibit, at the trial in this matter, the use of any and all
statements made by the defendant. In support of this motion counsel has provided
the accompanying Memorandum of Points and Authorities.
Dated: October 14, 2021




                                                      _________________________
                                                     Joseph R. Conte
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                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  Case No.: 1:21-cr-00180-RJL-1



                  v.                       MOTION TO SUPPRESS
                                           STATEMENTS
ELIAS COSTIANES,

                       Defendant.



                                    BACKGROUND


               On February 12, 2021, the defendant was arrested by members of the

Federal Bureau of Investigation. While in transit from his home in Nottingham,

Maryland and the FBI Field Office in Washington, D.C. the defendant was alleged

to have made statements to the agents. The statements were made while the

defendant was in custody and prior to being advised of or fully understanding his

Miranda v. Arizona 384 U.S. 463 (1966) rights or the waiver of these rights was

defective. Additionally, the statements were not voluntary.



                                    ARGUMENT



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I. Miranda.



               Before interrogating a person who is in custody "or otherwise deprived

of his or her freedom of action in any significant was," the police must expressly

advise the person (1) that he or she has a right to remain silent; (2) that any

statement he or she makes may be used as evidence against him or her; (3) that he

or she is entitled to "to consult with a lawyer and to have a lawyer with him or her

during interrogation"; (4) that an attorney will be appointed to represent him or her

if he or she cannot afford to retain one; and (5) that he or she may exercise any of

these rights at any point during the interrogation. Miranda v. Arizona, 384 U.S.

436, 444, 471 (1966). Accord Dickerson v. United States 120 S.Ct. 2326 (2000) The

Miranda requirements apply if a person is in custody "or otherwise deprived of his

freedom of action in any significant way." 384 U.S. at 444. See also, Rhode Island

v. Innis, 446 U.S. 291 (1980). Absent full Miranda warnings any statement is

inadmissible.



II. Voluntariness

               The government has the burden of proving by a preponderance of the



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evidence that the defendant's confession or statement is voluntary. See Lego v.

Twomey, 404 U.S. 477, 484 (1972); United States v. Wiggins, 166 U.S. App. D.C.

121, 128, 509 F.2d 454, 461 (1975); Hawkins v. United States. The test for

voluntariness is whether the confession is "the product of an essentially free and

unconstrained choice by its maker.: Culombe v. Connecticut, 367 U.S. 568, 602

(1961) (plurality opinion), approved in Schneckloth v. Bustamonte, 412 U.S. 218,

225-26 (1973).

               The question of the voluntariness of a confession is separate and

distinct from the issue of compliance or non-compliance with the requirements of

Miranda v. Arizona, 384 U.S. 436 (1966). Thus, as the evidence will show

voluntariness may still be an issue even though the Miranda requirements have

been met. See United States v. Bernett, 161 U.S. App. D.C. 363, 368-70, 495 F.2d

943, 948-50 (1974).

               The Supreme Court has noted that "a confession, in order to be

admissible, must be free and voluntary; that is, . . . not. . . obtained by any direct or

implied promises, however slight.: Shotwell Mfg. Co. v. United States, 371 U.S. 341,

347 (1963) (quoting Bram v. United States, 168 U.S. 532, 542-43 (1897)). Promises

of leniency or threats of additional prosecution made by the police constitute

psychological "coercion," so that resulting statements are involuntary. See United



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States v. Blocker, 354 F.Supp. at 1201 n. 31.

               A hearing on this motion will show that the defendant's statements

were not voluntary and were made while under arrest but before the defendant was

advised of his rights or before the defendant fully understood his rights.

               WHEREFORE counsel respectfully requests that this motion be

granted.

Dated: October 14, 2021



                                                _____________________________
                                                     Joseph R. Conte




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